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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT 0F FLORIDA

                         CASE N O . 22-20008-CR-MORENO


 UN ITED STA TE S OF AM RR ICA ,

        Plaintiff ,
 VS .

 KEV IN REB OLLED O ,

        Defendants.
                                   /

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        PLEA SE TARE N OTICE that this m atter ha s been SET

                        C HAH GE O F PLE A HEA R IN G

          WEDNESDA Y , .r nG           15 , 2022 at 9 :45 a .m .

 before the Honorable FEDERICO A . MORENO , United States District

 Judge, in Courtroom 12-2, 12th Floor , Un ited St ates Cou rth ou se ,

 4O0 N . M iam i A venue , M iami r Florida 33128 .

 Dated: 06/14/2022
                                       A NGE LA N OBLE
                                       CLERK OF COURT



 AUSA :
 A1l counsel       record
                                       By :        '
                                              SH   E Y C HRI STIE
                                              Courtroom Deputy
